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                                                                                  E-FILED
                                                          Friday, 11 April, 2008 04:04:06 PM
                                                               Clerk, U.S. District Court, ILCD
           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,               )
                                        )
                 Plaintiff,             )
                                        )
           v.                           )      No. 05-30033
                                        )
CORDELL JAMES,                          )
                                        )
                 Defendant.             )

                                OPINION

JEANNE E. SCOTT, U.S. District Judge:

     This matter comes before the Court on Defendant Cordell James’

Motion to Reduce Sentence (d/e 60).         The Government opposes the

Motion. For the reasons set forth below, the Court denies the Motion.

     On January 6, 2006, Defendant James pleaded guilty to the charge of

Conspiracy to Distribute Cocaine and Cocaine Base (“Crack”), in violation

of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846, as alleged in Count 1 of

the Indictment (d/e 16). Minute Entry of January 6, 2006. The applicable

statutory sentence for James was mandatory life. 21 U.S.C. § 841(b)(1)(A);

see Opinion entered December 13, 2006 (d/e 53) (Opinion), at 2.

Accordingly, James’ Sentencing Guideline range was life.              U.S.S.G. §

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5G1.1(b). The Government made a motion for a downward departure

below the Guideline range and the statutory minimum sentence based on

James’ substantial assistance. Opinion, at 3; see U.S.S.G. § 5K1.1 and 18

U.S.C. § 3553(e). The Court allowed the motion and sentenced James to

210 months. Id.

     In the fall of 2007, the United States Sentencing Commission

(Commission) amended the Federal Sentencing Guidelines.                  The

Commission is authorized to amend Federal Sentencing Guidelines

periodically, and to determine whether such amendments should apply

retroactively. 28 U.S.C. §§ 994(o) & 994(u). Pursuant to this authority,

the Commission amended the Sentencing Guidelines to reduce the

Guideline sentencing ranges for convictions for drug trafficking crimes

involving crack cocaine. U.S.S.G. Supplement to Appendix C, Amendment

706, effective November 1, 2007 (Amendment). The Amendment changed

U.S.S.G. § 2D1.1(c), which sets forth the applicable base offense level for

defendants convicted of drug trafficking offenses. The base offense level is

determined by the quantities of controlled substances for which the

defendant is held accountable. The general effect is to lower the base

offense level by two levels. Id. The Commission then decided that, effective

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March 3, 2008, the Amendment should apply retroactively. U.S.S.G. §

1B1.10.

     James now asks for the Amendment to be applied retroactively to him

to reduce his sentence. The Government opposes the Motion because the

Amendment did not reduce James’ applicable Guideline sentencing range.

The Court agrees. A convicted defendant may bring such a motion to

reduce his sentence if: (1) the defendant had been sentenced to a term of

imprisonment based on a Guideline sentencing range that has subsequently

been lowered by an amendment to the Guidelines, and (2) the reduction is

consistent with the applicable policy statement issued by the Commission.

18 U.S.C. § 3582(c). James’ statutory sentence was mandatory life. 21

U.S.C. § 841(b)(1)(A). Pursuant to U.S.S.G. § 5G1.1(b), his Guideline

sentencing range was life, regardless of his base offense level as calculated

under § 2D1.1(c). The Amendment did not change U.S.S.G. § 5G1.1(b),

or 21 U.S.C. § 841(b)(1)(A). Thus, even if James were sentenced today, his

statutory sentence would be life and his Guideline sentencing range would

be life. Since the Amendment would have no effect on James’ Guideline

sentencing range, even if he were sentenced today, he is not entitled to a

reduction in his sentence. 18 U.S.C. § 3582(c); see U.S.S.G. § 1B1.10,

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comment note 1. The Motion is denied.

     James argues that the statutory sentence of life imprisonment did not

apply to the calculation of his Guideline sentencing range because the

Government waived the life sentence by filing the downward departure.

The Court disagrees. Congress authorized the Government to move for a

sentence below the statutory minimum for substantial assistance. 18 U.S.C.

§ 3553(e). The Government did so in this case. The Court allowed the

motion and sentenced James below the applicable statutory sentencing

range of life. The Government’s § 3553(e) motion, however, did not change

the method by which the applicable Guideline sentencing range was

calculated. Thus, if James had been sentenced after November 1, 2007, the

applicable Guideline sentencing range would still have been life.        The

Government’s § 3553(e) motion would have allowed the Court to sentence

him to less than a life sentence, but the Motion would not have changed the

applicable Guideline sentencing range. Since the Amendment did not lower

the Guideline sentencing range applicable to James, he cannot seek a

reduction in his sentence. 18 U.S.C. § 3582(c).

     James also argues that the Commission overstepped its authority in

attempting to tell the Court the limits of its authority to reduce sentences

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and that fundamental fairness requires the Court to reduce James’ sentence

without regard to the opinion of the Commission. The problem with James’

argument is that Congress, not the Commission, determined that James is

not entitled to a reduced sentence. Congress authorized a motion to reduce

a sentence only when the defendant was sentenced to a term of

imprisonment based on a Guideline sentencing range that has subsequently

been lowered by an amendment to the Guidelines. 18 U.S.C. § 3582(c).

As explained above, the Amendment did not lower James’ applicable

Guideline sentencing range. Congress fixed James’ sentence at life. 21

U.S.C. § 841(b)(1)(A).     The Commission dutifully provided that the

Guideline range would comply with the Congressional mandate of a life

sentence. U.S.S.G. § 5G1.1(b). The Amendment did not affect § 5G1.1(b).

Thus, Congress did not authorize James to seek a reduction in his sentence.

The Commission’s policy statements or opinions do not affect this outcome.

     THEREFORE, Defendant Cordell James’ Motion to Reduce Sentence

(d/e 60) is DENIED.

IT IS THEREFORE SO ORDERED.




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ENTER: April 11, 2008

       FOR THE COURT:

                                       s/ Jeanne E. Scott
                                      JEANNE E. SCOTT
                                UNITED STATES DISTRICT JUDGE




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